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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION




Jennilyn Salinas, et al.,                 §
                                          §
                   Plaintiffs             §
                                          §
vs.                                       §    NO. 6:21-CV-162
                                          §
Nancy Pelosi, et al.,                     §
                                          §
                   Defendants.            §


            DSCC AND DCCC’S OPPOSED MOTION TO SET ASIDE ENTRY
                     OF DEFAULT AND BRIEF IN SUPPORT
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                                         INTRODUCTION

        Plaintiffs never properly served Defendants DSCC and DCCC (the “Committees”) with

this lawsuit, as required by Federal Rule of Civil Procedure 4(h)(1). Despite this fundamental

failure, Plaintiffs successfully moved for an entry of default against the Committees on May 28

(ECF Nos. 123, 124). For several reasons, the entry of default is in error and the Court should set

it aside.

        First, Plaintiffs’ failure to properly serve the Committees is sufficient on its own to show

“good cause” to set aside the entry of default. Fed. R. Civ. P. 55(c) (entries of default may be set

aside for “good cause”). Second, the Committees have not willfully defaulted—had they been

properly served, they would have moved to dismiss the case. This is evidenced by the Committees’

third reason for setting aside the default: The Committees acted as expeditiously as possible in

responding to the entry of default. The Committees became aware of the clerk’s order on May 28

and filed this motion to set it aside the next business day. Fourth, setting aside this default will not

prejudice Plaintiffs. This lawsuit is an extension of one previously filed months earlier in this court,

which was dismissed shortly after the court expressed skepticism with its viability. There is no

present urgency, and the relief Plaintiffs seek—overturning the 2020 election results—is not a

remedy that can properly be granted. Finally, denying this motion and entering a default judgment

against the Committees is not in the public’s interest. Plaintiffs’ lawsuit is a continuation of the

litigation against the 2020 election, all of which has been found to be meritless. The same is true

of this case, which Plaintiffs lack standing to pursue, but even if they had standing, the Complaint

fails to state a claim upon which relief may be granted. There is no benefit to the public (and only

grave detriment) to be had by resolving this case as a matter of default, rather than considering

Plaintiffs’ claims on their face in the proper course, in which the Committees plan to do if permitted

to respond.



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                                    STATEMENT OF FACTS

       Plaintiffs, residents of various states, filed this lawsuit on February 22, 2021, suing all

members of Congress, prominent CEOs, state officials from all 50 states, the Committees, and the

Republican National Committee. ECF No. 1. Plaintiffs appear to have never attempted to serve

any of the Defendants. Instead, they proceeded to amend the complaint on March 24, substituting

out several plaintiffs and replacing the lead plaintiff. ECF No. 24. The lawsuit describes a

purported conspiracy by wealthy elites to rig the 2020 general election and seeks a new election

and monetary damages. Id. at 2. Plaintiffs also seek to certify a class of injured parties totaling 328

million—essentially all Americans. Id. A few days after filing their original Complaint, Plaintiffs

filed a motion for temporary restraining order, which remains pending. ECF No. 5.

       There has been no substantive motions practice beyond that initial motion by the Plaintiffs,

and only ten of the almost 635 Defendants have either appeared through counsel or otherwise

engaged in the litigation. Of those who have appeared, Ohio Governor Mike DeWine, Ohio

Secretary of State Frank LaRose, Georgia Governor Brian Kemp, and Georgia Secretary of State

Brad Raffensperger have filed motions to dismiss, which make a plethora of arguments as to why

this case should not go forward, including that the Court lacks jurisdiction because Plaintiffs lack

standing and their claims are moot, and that they fail to state a claim for which relief may be

granted. See ECF Nos. 88, 113. Oklahoma Governor Kevin Stitt, Nebraska Governor Pete Ricketts,

Pennsylvania Governor Tom Wolf, Acting Secretary of the Commonwealth of Pennsylvania

Veronica Degraffenreid, Michigan Governor Gretchen Whitmer, and Michigan Secretary of State

Jocelyn Benson have each requested and been granted extensions into July 2021 to file any

responsive pleading to the Complaint.

       In other words, this case is at its very nascent stages, the Defendants who have appeared

make strong arguments as to why the Court lacks jurisdiction to even consider the matter and the



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case should be dismissed from the outset. Moreover, the relief that Plaintiffs seek could not be

obtained from anyone, much less the Committees, which clearly lack the power to overturn the

2020 election.

       Plaintiffs are represented by Paul M. Davis, who has been involved in several unsuccessful

post-election lawsuits seeking to undo the results of the 2020 general election. The current case is

a continuation of Davis’s Latinos for Trump v. Sessions lawsuit filed in this Court in January. See

Voluntary Dismissal, Latinos for Trump v. Sessions, No. 6:21-CV-00043 (W.D. Tex. Feb. 19,

2021) (ECF No. 17). No defendants were served in that case at the time Davis withdrew, id., and

the court had already expressed skepticism regarding the lawsuit’s viability, Order to Show Cause,

Latinos for Trump v. Sessions, No. 6:21-CV-00043 (W.D. Tex. Jan. 27, 2021) (ECF No. 11).

       From the time that this case was filed and for three months thereafter, there was no

indication that Plaintiffs were even attempting to serve the Committees (or any other named

Defendant). Then, suddenly, on May 24, May 25, and May 26, Mr. Davis made a flurry of filings

that he identified as returned and executed summons. Among these were documents that Mr. Davis

contends demonstrate that the Committees were served on April 30. ECF Nos. 118, 119. But the

Committees never received the summons. Mr. Davis’s own filings may explain why.

       Both summons to the Committees were directed, not to the Committees’ own addresses,

but to CT Corporation System, at an address of 1999 Bryan St. Suite 900, Dallas, Texas 75201-

3136. ECF Nos. 16, 17. CT Corporation System is not authorized to accept service for Defendant

DSCC in Texas at all. Wright Decl. ¶ 4. Thus, it is unclear why Mr. Davis requested that the

summons for that Committee be printed “care of” CT Corporation System or to that address at all.

While it is the case that CT Corporation System is authorized to serve as Defendant DCCC’s




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registered agent in Texas, DCCC never received notification from CT Corporation System that it

had received a summons for it in this case. Newman Decl. ¶ 3.

       And, from the face of the documentation that Mr. Davis submitted, there is good reason to

believe that it never actually got to CT Corporation System. For unknown reasons, the affidavit of

service and attached documentation from the U.S. Postal Service that Mr. Davis submitted to the

Court purporting to demonstrate that he had served both Committees evidences that the summons

was sent not to the address for CT Corporation System that was on the face of the summons, but

to an unidentified PO Box in Dallas. See ECF No. 105 at 6, 8. And in both cases, both the signature

and address of the recipient who received the materials are entirely illegible. Id. at 6, 8. And the

Amended Complaints were never retrieved from the unidentified P.O. Boxes. Brailey Decl., Exs.

A, B (U.S. Postal Service’s online tracking tool indicates the envelopes arrived but were not

retrieved).

       Immediately or shortly after they filed the notice of executed summons with the Court, they

moved to enter default against the Committees, which the Clerk entered on May 28 (ECF Nos.

123, 124). Counsel for the Committees conferred with Plaintiffs’ counsel to resolve these issues,

but Plaintiffs’ counsel was not amenable to resolution. The Committees now respectfully move

the Court to set aside the default.

                                          ARGUMENT

       Under Rule 55(c), the “court may set aside an entry of default for good cause.” When

determining whether to set aside a default, courts consider “whether the default was willful,

whether setting it aside would prejudice the adversary, and whether a meritorious defense is

presented.” Lacy v. Sitel Corp., 227 F.3d 290, 292 (5th Cir. 2000). The court may also consider

whether “the public interest was implicated” or whether the “defendant acted expeditiously to

correct the default.” Matter of Dierschke, 975 F.2d 181, 184 (5th Cir. 1992). Defaults are



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“generally disfavored in the law” and “should not be granted on the claim, without more, that the

defendant had failed to meet a procedural time requirement.” Lacy, 227 F.3d at 292 (citing Mason

& Hanger—Silas Mason Co. v. Metal Trades Council, 726 F.2d 166, 168 (5th Cir. 1984)).

       Good cause exists to set aside the default against the Committees on several independent

grounds, including that Plaintiffs never perfected service. Rule 4 of the Federal Rules of Civil

Procedure governs service of process. See Rogers v. Hartford Life & Accident Ins. Co., 167 F.3d

933, 937 (5th Cir. 1999) (“Until the plaintiff serves the defendant, the defendant has no duty to

answer the complaint and the plaintiff cannot obtain a default judgment.”). Under Rule 4(m), a

plaintiff must properly serve each defendant within ninety days of filing a complaint. See Fed. R.

Civ. P. 4(m). The Committees must be served by:

               (1) following state law for serving a summons in an action brought
               in courts of general jurisdiction in the state where the district court
               is located or where service is made; or
               (2) by delivering a copy of the summons and of the complaint to an
               officer, a managing or general agent, or any other agent authorized
               by appointment or by law to receive service of process and—if the
               agent is one authorized by statute and the statute so requires—by
               also mailing a copy of each to the defendant.

Fed. R. Civ. P. 4(e)(1), 4(h)(1)(B). Under state law, Plaintiffs could have served the Committees

by:

               (1) delivering to the defendant, in person, a copy of the citation,
               showing the delivery date, and of the petition; or

               (2) mailing to the defendant by registered or certified mail, return
               receipt requested, a copy of the citation and of the petition.

Tex. R. Civ. P. 106(a).

       Plaintiffs did neither. According to the docket, there are two summons issued and two

summons returned for the Committees. ECF Nos. 16, 17, 105 at 5-8. The issued summons are

addressed to CT Corporation System in Dallas, Texas. ECF Nos. 16, 17. But according to the



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purportedly returned summons, Plaintiffs mailed the summons by certified mail to two unidentified

P.O. Boxes in Dallas, Texas. ECF No. 105 at 5-8. It appears that the envelopes were signed for,

but the signatures are illegible and the Committees never received notification of anyone receiving

any summons on their behalf in this case. Id. at 6, 8; see also Wright Decl. ¶ 4; Newman Decl. ¶

3. There is certainly no evidence that a registered agent of the Committees accepted this service.

It is more likely that a U.S. Postal Service employee unaffiliated with the Committees signed for

the envelopes as they arrived at the post office. U.S. Postal Service’s tracking system shows that,

though the envelopes were delivered to P.O. Boxes, the envelopes were never retrieved. Brailey

Decl., Exs. A, B.

       Neither Committee has an office in Texas and neither Committee accepts service at an

unidentified P.O. Box in Dallas. Wright Decl. ¶¶ 3, 5; Newman Decl. ¶¶ 3, 5. It is not clear to

whom these P.O. Boxes belong and why Plaintiffs mailed the summons to them when the issued

summons themselves had physical addresses. ECF Nos. 16, 17 (addressing summons to CT

Corporation System). Even so, the address on the summons purportedly issued to DSCC—directed

to CT Corporation System—is not the correct addresses for DSCC’s registered agent of service in

Texas. Wright Decl. ¶ 4. Thus, Plaintiffs did not even properly identify the correct agents for

service for both Committees, much less successfully serve any registered agent for the

Committees, and therefore the Committees had no proper notice of this lawsuit before the entry of

default was entered.

       Beyond Plaintiffs’ failure to effect service, the Committees have met their burden to show

good cause for the Court to set aside the default. The Committees’ default was not willful because

they never received proper notice of this lawsuit. Once the Committees learned of the default on

May 28, they filed this motion as expeditiously as possible. In any case, these facts alone would




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be more than sufficient to require the vacation of the entry of default. In this case specifically,

where the Plaintiffs seek nothing less than the reversal of the decision of the American people in

the last prior presidential election, and where, as the Governors and Secretaries of State of Ohio

and Georgia have already argued in their pending motions to dismiss, the Court lacks jurisdiction

to even hear the matter, and Plaintiffs have further failed to plead any cognizable claim, public

policy and the public interest independently weigh heavily in favor of vacation of the entry of

default. Considering the nature of the underlying lawsuit, which the Committees are ready to

dispute in a motion to dismiss if permitted by the Court, setting this default aside has no bearing

on Plaintiffs. There is no path to undoing the 2020 general election, which is the relief Plaintiffs

seek. This matter is in its infancy, hundreds of Defendants have not yet responded to the

Complaint, and the Committees should similarly be permitted to defend against the claims made

against them in this litigation.

                                         CONCLUSION

        Based on the foregoing and pursuant to Rule 55(c), the Committees respectfully request

that the Court set aside the entries of default. ECF Nos. 123, 124.




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Dated: June 1, 2021                                Respectfully submitted,



                                                   /s/ John R. Hardin

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                                                   ATTORNEYS FOR DEFENDANTS
                                                   DCCC, DSCC

                                                   *Pro hac vice applications forthcoming



                                  Certificate of Conference
       The undersigned certifies that on June 1, 2021, attorneys for the Committees conferred

with counsel for Plaintiffs regarding the relief sought herein. Plaintiffs’ counsel is opposed to the

relief sought herein.

                                                       _/s/ John R. Hardin___________
                                                       John R. Hardin

                                      Certificate of Service
       A true and correct copy of this Motion was served on all parties through the court’s e-filing

system.

                                                       _/s/ John R. Hardin___________
                                                       John R. Hardin




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